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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 BRANDON HUDSON, individually     )
 and on behalf of all others similarly
                                  )
 situated,                        )
                                  )
       Plaintiff,                 )           CASE NUMBER 18-cv-02712
                                  )
 v.                               )           Judge Charles R. Norgle, Sr.
                                  )
 SPRINT SOLUTIONS, INC.,          )           JURY DEMANDED
 DIVERSIFIED CONSULTANTS, INC.,   )
 and as yet unknown JANE DOES and )
 JOHN DOES                        )
                                  )
       Defendants.                )


    PLAINTIFF’S CITATION TO ADDITIONAL AUTHORITY IN OPPOSITION TO
   DEFENDANTS SPRINT SOLUTIONS, INC. AND DIVERSIFIED CONSULTANTS,
                 INC.’S MOTIONS TO COMPEL ARBITRATION

       BRANDON HUDSON (“Plaintiff”), by his undersigned counsel, submits the

following legal authority, Thompson v. AT&T Services, 2018 U.S. LEXIS 162849 (N.D. Ill.

Sept. 20, 2018), in opposition to the Motions to Compel Arbitration filed by Defendants:

                                     I. Introduction

       1.        This civil arises out of disputed cellular telephone account between

Plaintiff and Defendant Sprint Solutions, Inc. (Sprint) and Diversified Consultants, Inc.

(Diversified).    Sprint moved to compel arbitration (Dkt. 20) but did not submit an

affidavit in support of its Motion.      Diversified’s Motion piggy-backed onto Sprint’s

Motion. Dkt. 24. Sprint produced the applicable policy after it was ordered to do so.

Dkt. 41.

       2.        The arbitration agreement at issue (circa 2013 pursuant Sprint’s sworn

testimony) contains a clause which provides that a court of law will interpret the scope

and enforceability of the arbitration – it does not delegate this duty to an arbitrator. The


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subject language states: “that only a court (and not the arbitrator) shall decide any

disagreements regarding the scope and enforceability of this agreement to arbitrate.’”

Dkt. 46-1, page 14 of 55.

       3.     Respectfully, it is up to this Court to decide whether Sprint can invoke

arbitration in light of the facts alleged in the Complaint (which Plaintiff will not rehash

for the purposes of this filing).   Similarly, it is up to this Court to decide whether

Diversified can invoke under the terms of the arbitration agreement belatedly submitted

by Sprint.

       4.     The attached case, Thompson v. AT&T Services, 2018 U.S. LEXIS 162849

(N.D. Ill. Sept. 20, 2018) found that a debt collector was not entitled to seek arbitration

of lawsuit related to its debt collection efforts because the record (belatedly established

by the debt collector in its reply brief in support of its motion to compel arbitration) did

not show that the debt collector was an agent of Sprint.

       5.     Here, Diversified did not even submit an affidavit in support of its Motion

to Compel Arbitration. Rather, it simply argued that it stepped into the shoes of Sprint

when it attempted to collect the alleged debt. Thompson v. AT&T Services, supports the

denial of Diversified’s Motion as the court in Thompson v. AT&T Services engaged in an

in-depth analysis and held that there was insufficient evidence to find that the debt

collector was an agent of AT&T. Id. at *20-*26.

       6.     Here, Diversified submitted no evidence, and accordingly, Diversified’s

Motion should be denied, and the discovery stay should be lifted.

       WHEREFORE, Plaintiff, BRANDON HUDSON, respectfully requests that this

Honorable Court rule on and deny the pending motions to compel arbitration.




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                                  Plaintiff BRANDON HUDSON, individually, and
                                  on behalf of all others similarly situated,

                                  By: /s/ James C. Vlahakis
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                            CERTIFICATE OF SERVICE


      I, James C. Vlahakis, an attorney, certify that I caused the above document to

be served upon all persons and entities registered and authorized to receive such

service through the court Case Management / Electronic Case Files (CM/ECF) system

on September 26, 2018.




                                                   s/ James C. Vlahakis




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